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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

STONE WORKS, LLC,                                  )
                                                   )
                      PLAINTIFF                    )
                                                   )
v.                                                 )       CASE NO. 4:21-cv-941
                                                   )
RANDY SIMS; MEGAN SIMS; WILLIAM                    )
THOMAS; STONE CONCEPTS, LLC; MARTY                 )
HESCH, and EDWARD FRALEY                           )
                                                   )
                      DEFENDANTS                   )

                            AGREED MOTION FOR CONTINUANCE

        Comes Plaintiff, Stone Works, LLC, by and through its attorneys Patrick R. James with

James, House, Swann & Downing, P.A., and Timothy J. Giattina, and Erin Cassinelli with Lassiter

& Cassinelli; Defendants Marty Hesch and Stone Concepts, LLC, by and through their attorneys

Scott Richardson and Dustin McDaniel with McDaniel, Wolff & Benca, PLLC; Defendant,

Edward Fraley by and through his attorneys Jason C. Smith with Spencer Fane, LLP, Harry E.

“Bud” Cummins with The Law Offices of Bud Cummins, and Daniel R. Carter with James and

Carter, PLC, and for their Agreed Motion for Continuance, state:

           1. All parties represented by counsel move this Court for a continuance of the trial

date.

           2. There are three Pro Se Defendants in this case, Randy Sims, Megan Sims, and

William Thomas who have been sent this Motion but whose position regarding a continuance is

unknown.




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            3. Presently pending before this Court is Defendant, Marty Hesch and Stone Concepts,

LLC’s Motion for Extension of Time filed April 22, 2022 to move the deposition of Marty Hesch.

Also pending is a Motion for Protective Order filed April 23, 2022 agreed upon by the represented

parties in this case (Plaintiff, Marty Hesch, Stone Concepts, LLC and Ed Fraley) but which the

Pro Se Defendants have not commented on.

            4. In connection with the filing of this Motion, Marty Hesch and Stone Concepts, LLC

withdraws their Motion for Extension of Time.

            5.   Trial in this case is scheduled for September 12, 2022 and good cause exists for

the continuance of the trial date including, but not limited to:

                 •     As disclosed in the January 10, 2022 Joint Rule 26(f) Report, counsel for

                       Plaintiff has a scheduling conflict with the Court’s proposed trial date.

                 •     Erin Cassinelli, lead counsel, is pregnant and has a due date around the same

                       time period of the trial date.

                 •     Additional time is needed for discovery.

                 •     Plaintiff intends to amend the Complaint and add additional parties.

        WHEREFORE, Plaintiff, Stone Works, LLC, Defendants, Stone Concepts, LLC and Marty

Hesch, and Defendant, Edward Fraley pray that their Motion for Continuance be granted and for

all other just and proper relief.

                                                        Respectfully,

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